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                                IN THE UNITED STATES DISTRICT COURT FOR
                                     THE SOUTHERN DISTRICT OF IOWA
                                            CENTRAL DIVISION


 JESSICA BENSLEY,                                                                  Case No. 4:20-cv-00329-JAJ-HCA

             Plaintiff,
 vs.                                                                            JAMIE FITZGERALD’S
                                                                           MEMORANDUM OF LAW IN SUPPORT
 PAUL PATE, Iowa Secretary of State, and                                     OF PRE-ANSWER MOTION TO
 JAMIE FITZGERALD, Polk County Auditor,                                     DISMISS AND REQUEST TO TAKE
                                                                                  JUDICIAL NOTICE
             Defendants.


           COMES NOW Polk County Auditor Jamie Fitzgerald, and submits the following

memorandum of law in support of his Pre-Answer Motion to Dismiss and Request to Take

Judicial Notice.

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                                                STATEMENT OF THE CASE

           Plaintiff Jessica Bensley filed a Complaint and Jury Demand under 42 U.S.C. section

1983 naming Secretary of State Paul Pate and Polk County Auditor Jamie Fitzgerald as
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Defendants. [Doc. 1.] Plaintiff alleged that her Fourth and Fourteenth Amendment rights were

violated when her name was placed “on a list of disqualified felony voters in Polk County, Iowa”

and by failing to notify her of this placement. Ms. Bensley brings two counts: (1) deprivation or

denial of her right to vote, and (2) denial of procedural due process. As will be discussed herein,

Auditor Fitzgerald should be dismissed for failure to state a claim upon which relief can be

granted.

                                 FACTUAL ALLEGATIONS

       Plaintiff Jessica Bensley, a resident of Des Moines, was charged with a felony in June

2011. [Doc. 1,¶ 8]. She eventually pled guilty to an aggravated misdemeanor charge and

received a suspended sentence. [Doc. 1, ¶ 12]. Bensley was charged with two additional

felonies unrelated to this June 2011 incident, which were dismissed. [Doc. 1, ¶ 13]. Plaintiff has

never been convicted of a felony. [Doc. 1, ¶ 14]. From 2012 to 2018, Bensley voted in local and

national elections without incident. [Doc. 1, ¶ 15]. She alleges that she voted as “usual” at the

Staves United Methodist Church in Polk County, Iowa on November 6, 2018. [Doc. 1, ¶ 17].

       Under article II, section 5 of the Iowa Constitution, no “person convicted of any infamous

crime, shall be entitled to the privilege of an elector.” Iowa Code section 39.3(8) defines

“infamous crime” as a felony. See also Iowa Code § 48A.6(1) (providing that any person “who

has been convicted of a felony” is disqualified from registering to vote or voting). The Iowa

Supreme Court upheld this definition in Griffin v. Pate, 884 N.W.2d 182 (Iowa 2016). The Iowa

Secretary of State serves as the State Commissioner of Elections and the Official Registrar of

Voters. Iowa Code § 47.7(1). In this latter capacity, the Secretary is required to maintain “a

single, uniform, centralized” voter registration database. This database is commonly referred to

as the I-Voter Database. Defendant Jamie Fitzgerald is the Polk County Auditor. As Auditor,

Mr. Fitzgerald serves as a Polk County Commissioner of Elections. Iowa Code § 47.2(1).
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Auditor Fitzgerald is responsible for conducting voter registration and elections within the

county.

          Iowa Code section 48A.30 requires the cancellation of a voter registration if particular

events occur. One of those events is notification of a felony conviction. Id. § 48A.30(1)(d).

Notification is to be sent by the clerk of court, the United States attorney, or the Secretary of

State. Id. Iowa law requires the registrar to determine “which county the felon is registered to

vote, if any, and shall notify the county commissioner of registration for that county of the felony

conviction.” Id. The Code does not confer any duty or obligation on the County Auditor within

this process. The Secretary of State, however, has now promulgated administrative rules

directing county auditors, like Auditor Fitzgerald, to verify the accuracy of the information

provided by his office. Iowa Admin. Code r. 721—28.4. That rule was not in effect in 2018.

https://rules.iowa.gov/Notice/Details/4804C (providing Notice of Intended Action of the new

rule in January 2020) (last visited December 23, 2020).

          Plaintiff alleges that when she cast her vote in the November 2018 General Election, no

one indicated that there was any issue with her voter registration or ability to vote. [Doc. 1, ¶

40]. She alleges that until she received notification on November 20, 2018, that her “provisional

ballot” had been rejected, she was unaware there was any issue with her voter registration or

ability to vote. [Doc. 1, ¶¶ 41, 42]. The Complaint does not explain how the Plaintiff’s vote was

challenged if she did not vote provisionally. After discussions with Auditor Fitzgerald’s Office,

Ms. Bensley received a new voter identification card. [Doc. 1, ¶ 55]. Plaintiff has voted

successfully in subsequent elections. [Doc. 1, ¶ 56].

                   STANDARD FOR GRANTING A MOTION TO DISMISS

          Under rule 12(b)(6), “To survive a motion to dismiss, a complaint must contain sufficient



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factual matters, accepted as true, to ‘state a claim to relief that is plausible on its face.’ ” Ashcroft

v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 1949, 173 L. Ed. 2d 868 (2009) (quoting Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955 (2007)). A claim is “plausible on

its face” when the allegations allow the court to draw the reasonable inference that the

defendants are liable for the misconduct alleged, which is more than “a sheer possibility” that the

defendants acted unlawfully. Id. (citation omitted). A plaintiff merely alleging facts that are

“consistent with” liability is insufficient. Id. (citation omitted).

        In considering whether a complaint meets the plausibility standard, the court must accept

all factual allegations as true; however, the court “is not bound to accept as true a legal

conclusion couched as a factual allegation.” Carton v. General Motor Acceptance Corp., 611

F.3d 451, 454 (8th Cir. 2010) (citing McAdams v. McCord, 584 F.3d 1111, 1113 (8th Cir. 2009)).

Speculative, conclusory, or nonspecific allegations are insufficient. Cooper v. Schriro, 189 F.3d

781, 784–85 (8th Cir. 1999).

                                            ARGUMENT

        I. This Court Should Take Judicial Notice of the Provisional Ballot, Notice of
           Rejection of a Provisional Ballot, and the Plaintiff’s Voter File.

        Federal Rule of Evidence 201(c) states, “[a] court shall take judicial notice if requested by

a party and supplied with the necessary information.” “A judicially noticed fact must be one not

subject to reasonably dispute in that it is … capable of accurate and ready determination by

resort to sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(a)(2). “A

district court may take judicial notice of public records and may thus consider them on a motion

to dismiss.” Stahl v. U.S. Dept. of Agriculture, 327 F.3d 697, 700 (8th Cir. 2003) (citing Faibisch

v. Univ. of Minn., 304 F.3d 797, 802-03 (8th Cir. 2002)). When considering a Rule 12(b)(6)

motion to dismiss, a court can consider the “pleadings themselves, materials embraced by the

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pleadings, exhibits attached to the pleadings, and matters of public record.” Illig v. Union Elec.

Co., 652 F.3d 971, 976 (8th Cir. 2011) (citing Mills v. City of Grand Forks, 614 F.3d 495, 498

(8th Cir. 2010)); see also Waldner v. North American Truck & Trailer, Inc., 277 F.R.D. 401, 406

(S.D. South Dakota 2011) (stating “courts can consider matters of public record in addition to the

complaint’s factual allegations”).

      Auditor Fitzgerald requests this Court take judicial notice of three documents, all of which

have been attached to his motion. Exhibit 1 is a sample provisional ballot. This is a public

document, kept in the regular course of business. Exhibit 2 is a sample notification of provisional

ballot rejection. This is a public document, kept in the regular course of business. Exhibit 3 is

Ms. Bensley’s voter file. This document is a public record, kept in the regular course of business.

The authenticity of these documents is not reasonably disputed and their accuracy cannot

reasonably be questioned. Consideration of these documents will assist the court in evaluating

Auditor Fitzgerald’s motion to dismiss.

       II. Plaintiff’s Claims Against Auditor Fitzgerald Should Be Dismissed for Failure
           to State a Claim Upon Which Relief Can be Granted.

       As noted previously, Plaintiff brings two claims against Auditor Fitzgerald: (1)

deprivation or denial of her right to vote and (2) denial of procedural due process. Ms. Bensley

has failed to plead properly either count against the Auditor.

       With respect to claims brought under 42 U.S.C. § 1983, “a plaintiff must allege sufficient

facts to indicate the named individual defendants, acting under the color of state law, violated the

plaintiff’s constitutional rights.” Zar v. South Dakota Bd. of Exam’rs of Psychologists, 976 F.2d

459, 464 (8th Cir. 1992); see also Kuha v. City of Minnetonka, 365 F3d 590, 606 (8th Cir. 2003)

(holding that to “state a claim under § 1983, a complaint must allege facts, if true, establish (1) a

violation of a constitutional right, (2) committed by a state actor, (3) who acted with the requisite

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culpability and causation to violate the constitutional right”). To make a viable section 1983

claim with respect to named individual defendants, a plaintiff must demonstrate “a causal link to,

and direct responsibility for, the deprivation of rights” at issue. Madewell v. Roberts, 909 F.2d

1203, 1208 (8th Cir. 1990) (citing Rizzo v. Goode, 423 U.S. 362, 370-71 (1976)); see also Zutz v.

Nelson, 601 F.3d 842, 851 (8th Cir. 2010) (“[T]o state a cause of action under § 1983, a plaintiff

must plead facts that would tend to establish that the defendant’s wrongful conduct caused the

constitutional deprivation.”). If there is no causal connection between a defendant’s conduct and

the violations alleged in a complaint, the complaint may be dismissed for failure to state a claim.

Morton v. Becker, 793 F.2d 185, 187 (8th Cir. 1986).

         Plaintiff does not allege a single affirmative action committed by Auditor Fitzgerald. She

does not claim that Auditor Fitzgerald placed her name on the so-called “Felon Voter List.” Ms.

Bensley does not allege that the Auditor notified anyone that she was a convinced felon subject

to voter disqualification. She does not claim that Auditor Fitzgerald rejected her provisional

ballot in the 2018 General Election. A close reading of the Complaint, moreover, reveals that

Plaintiff’s deprivation claim is based on her placement on the disqualification list1 and not the

rejection of her 2018 provisional ballot. [Doc. 1, ¶¶ 59, 60]. Plaintiff’s claims against the

Auditor, therefore, are not based on his own conduct or lack thereof, but rather that he is

responsible for the actions and inactions of his office and its employees.

         The doctrine of respondeat superior is generally an improper basis upon which to rest a

section 1983 claim because an individual cannot be held liable solely on the actions or inactions




          1
            The Complaint does not note the date of this placement. Exhibit 3 demonstrates that this action occurred
in August 2017, more than two years prior to the filing of the Compliant. Plaintiff disputes she received notification
prior to November 2018, despite contradictory evidence in Exhibit 3. Assuming the facts as pled, as is required at
this stage in the litigation, her Complaint is timely. Discovery, if necessary, however, may well reveal that this
Complaint is untimely.

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of his or her subordinates. Boyd v. Knox, 47 F.3d 966, 968 (8th Cir. 1995). A supervisor may

have liability under section 1983 if he directly participated in the constitutional violation or if

failure to train or supervise the offender caused the constitutional deprivation. Tilson v. Forrest

City Police Dep’t, 28 F.3d 802, 806 (8th Cir. 1994). The Plaintiff does not allege that Auditor

Fitzgerald failed to properly train or supervise his staff. She makes no claim that the Auditor’s

failure to train his staff resulted in her alleged constitutional deprivation.

        A supervisory official may be liable if he created a policy or custom under which the

constitutional practice occurred. Moyle v. Anderson, 571 F.3d 814, 817-18 (8th Cir. 2009). “[A]

‘policy’, is an official policy, a deliberate choice of a guiding principle or procedure made by the

municipal official who has final authority regarding such matters.” Mettler v. Whiteledge, 165

F.3d 1197, 1204 (8th Cir. 1999) (citing Ware v. Jackson County, 150 F. 3d 873, 880 (8th Cir.

1998)). Bensley does not allege there is an official policy in the Polk County Elections Office to

placed qualified voters on the disqualified list or otherwise disenfranchise qualified voters.

        A custom is misconduct that is pervasive among non-policymaking employees. Ware,

150 F. 3d at 880. To prove a municipal custom exists, Plaintiff:

        must satisfy the following three requirements: (1) The existence of a continuing,
        widespread, persistent pattern of unconstitutional misconduct by the governmental
        entity’s employees; (2) deliberate indifference to, or tacit authorization of, such
        conduct by the governmental entity’s policymaking officials after notice to the
        officials of that misconduct; and (3) the plaintiff’s injury by acts pursuant to the
        governmental entity’s custom, that is, proof that the custom was the moving force
        behind the constitutional violation.

Ward v. City of Des Moines, 184 F.Supp.2d 892, 897 (S.D. Iowa 2002). The Complaint does not

use the term custom. Ms. Bensley does not allege that the Auditor has a custom or practice of

placing qualified voters on the disqualified list or otherwise disenfranchise qualified voters. At

best, Plaintiff claims that Auditor Fitzgerald or his staff had a custom or practice of ignoring or

failing to take affirmative steps to correct errors in the I-Voters Database maintained by the
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Secretary of State.2 It’s unclear whether a 1983 claim can be found in the alleged omission of

one official to correct the errors of another official. Ms. Bensley, however, does not plead facts

sufficient to substantiate this novel claim.

         The Complaint is rife with legal conclusions concerning Auditor Fitzgerald, but short on

factual allegations. For example, Plaintiff claims that Auditor Fitzgerald and his office has been

aware since 2012 that the I-Voter Database is riddled with errors. [Doc. 1, ¶ 34]. The Complaint

then documents the numerous attempts by the Secretary of State to fix said errors. The

Complaint, however, fails to contain a single factual allegation about the state of the I-Voter

Database in August 2017 or November 2018, the time relevant to this Complaint. The

Complaint, fails to allege facts about the Auditor’s knowledge of the accuracy of the I-Voter

Database during the relevant period. The Complaint fails to allege facts sufficient to show that

there was a widespread custom or practice in the Auditor’s Office in 2017/18 of ignoring errors

in the I-Voter Database.

         The procedural due process claim is equally as untenable. First, similar to above, Ms.

Bensley makes the bold assertion that “Defendant Fitzgerald and other County Auditors did not

consistently provided [sic] notice to those potential voters who Defendant Fitzgerald and the

other County Auditors deemed excluded because of felony convictions.” [Doc. 1, ¶ 32].

Plaintiff does not allege any facts to support this conclusion. Later she states that the Polk

County Auditor’s Office failed to notify her of the cancellation of her voter registration.3 [Doc.

1, ¶ 43]. While Auditor Fitzgerald certainly disputes this factual allegation, and notes Exhibit 3




        2
          Plaintiff does not allege a source for Auditor Fitzgerald’s duty or even ability to correct errors in the I-
Voter Database based upon the conviction of a felony.
         3
          Auditor Fitzgerald will assume but not concede that statutory notice mandated in Iowa Code section
48A.30(2) is constitutionally required.

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demonstrates that Ms. Bensley was notified in 2017 at her current address, even assuming this

factual allegation is true, no constitutional violation can be found. Plaintiff has failed to allege

Auditor Fitzgerald failed to properly train his staff on the need to provide notification. Plaintiff

has failed to plead a policy, practice, or custom in the Auditor’s Office of failing to provide the

requisite notices to disqualified voters nor Auditor Fitzgerald’s gross indifference to this pattern,

practice, or custom. A constitutional claim against Auditor Fitzgerald does not resound in every

instance of human error committed in his office.

       Second, Ms. Bensley claim is implausible on its face. She claims it was not until she

received notification that her “provisional ballot” was rejected did she have any idea that her

voter registration was in question. [Doc. 1, ¶¶ 41, 42]. Additionally, she alleges to have voted in

November 2018 as usual. [Doc. 1, ¶ 39]. While this Court is to presume the facts as plead in the

Complaint are true, this Court does not have to accept completely implausible factual allegations.

Iqbal, 556 U.S. at 679 (“Determining whether a complaint states a plausible claim for relief will .

. . be a context-specific task that requires the reviewing court to draw on its judicial experience

and common sense.”). Ballots are secret in Iowa. Once cast, a ballot bares no indication or

marking signifying the voter’s identity. If Plaintiff voted as “usual,” there would be no

mechanism to reject her ballot as it would be impossible to determine which ballot was hers.

The only way Ms. Bensley’s ballot could have been rejected is if she voted provisionally.

       The fact that Ms. Bensley voted provisionally in November 2018 is significant for three

reasons. One, it demonstrates that the proper procedures were followed and she was allowed to

vote despite placement on the felon disqualification list. Second, casting a provisional ballot

would have put her on notice of an issue with her voter registration. Third, and most

importantly, the provisional ballot sets forth a procedure for the voter to cure the alleged



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deficiency in their registration. See Exhibit 1. Due process was available to Ms. Bensley prior to

the rejection of her ballot. She simply chose not to participate in that process.

                                         CONCLUSION

       For the reasons expressed above, Auditor Fitzgerald respectfully asks that the Court

dismiss the above-captioned matter against him in its entirety and grant any and all other relief it

deems appropriate.

                                          Respectfully submitted,

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